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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

              v.                                         Case No. 22-CR-176 (CJN)

 STEPHEN JOHNSON,
                                                         EX PARTE AND UNDER SEAL
                   Defendant.


       UNITED STATES’ MOTION TO RESTRAIN DISSIPATION OF ASSETS

        The United States of America, by and through undersigned counsel, respectfully moves

this Court to enter a restraining order to preserve the equity in the defendant’s bank accounts and

other assets for potential use to satisfy the anticipated restitution judgment in this case. Restitution

in child pornography cases is mandatory, see 18 U.S.C. § 2259, and the defendant is likely to owe

a significant amount of additional special assessments that are also mandatory in child

pornography cases, see 18 U.S.C. §§ 2259A, 3014. The government has learned that, in the hours

leading up to his self-surrender on April 19, 2024, the defendant was engaged in active efforts to

liquidate financial accounts containing nearly one million dollars in assets. A restraining order is

necessary to ensure that adequate funds are available to pay the substantial mandatory restitution

judgment and special assessments that the defendant faces at sentencing.

                                   FACTUAL BACKGROUND

        On April 17, 2024, a jury found Defendant guilty of five counts of Transportation of Child

Pornography, in violation of 18 U.S.C. § 2252(a)(1), (b)(1), and one count of Possession of Child

Pornography, in violation of 18 U.S.C. § 2252(a)(4)(B), (b)(2). (ECF No. 166). The defendant is

pending sentencing and will face a mandatory restitution judgment and mandatory special

assessments. See 18 U.S.C. § 2259, 2259A, 3014.
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         Following the jury’s verdict, the Court allowed the defendant to remain on pretrial release

for roughly 42 hours so that he could get his affairs in order before turning himself in to the U.S.

Marshals. The government has since learned that the defendant used this time to attempt to

liquidate his brokerage and retirement accounts at J.P. Morgan and transfer the funds elsewhere.

See Exhibit 1 (Declaration of Special Agent Kelly A. McLeod).

         Early on Thursday, April 18, 2024—the morning after the verdict—the defendant sent a

secure message 1 to his J.P. Morgan financial advisor that said, “Hi        , I want to sell all stocks

in my retirement account and move the funds to my checking.” See id. ¶ 2.a. n.1.

         As detailed in her Declaration, Special Agent McLeod spoke with           , the defendant’s

financial advisor.     See id. ¶ 2.           found the defendant’s request and the method of

correspondence to be unusual, and he followed up by calling the defendant. See id. ¶ 2.a.

According to         , the defendant stated he was going out of the country, would not have access to

a computer or phone, and needed access to cash. See id. ¶ 2.b.           described the defendant as

sounding calm but also thought he seemed in a rush to get access to money. See id. During the

same conversation, the defendant indicated that he had liquidated his brokerage account and

wanted to move the funds into his checking account. See id. ¶ 2.c.          explained that the funds

required three days to clear and could not yet be moved. See id. In reviewing the account, he

could see that the defendant had executed trades online into the early morning hours. See id.

found the defendant’s activity to be suspicious because it made little financial sense and would

have been against his advice: the defendant had liquidated hundreds of thousands of dollars in

equity that is subject to capital gains tax. See id. ¶ 2.d. The defendant also stated that his wife

would be controlling his accounts in his absence, but he was also not interested in following


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    The defendant was prohibited from using internet-connected devices as a condition of release.


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owe significant capital gains tax, and he sought to liquidate his retirement account, which will be

subject to a tax penalty given that the defendant is only 36 years old. That same day, the defendant

transferred $100,000 to his wife. And while the defendant told his banker that his wife would be

controlling the account in his absence, he rejected the banker’s suggestion that he complete the

power-of-attorney paperwork that would empower her to do so.

       On May 7, 2024, defense counsel informed the government by email that the defendant’s

J.P. Morgan Chase accounts had been frozen. This appears to have been done on the bank’s own

initiative; the government is not aware how long the freeze will remain in effect.

       The United States has an interest in ensuring that these funds are preserved pending

sentencing so that they are available to satisfy the substantial mandatory restitution and special

assessments that the defendant faces in this case.

    ANTICIPATED MANDATORY RESTITUTION AND SPECIAL ASSESSMENTS

       Defendant’s child pornography convictions carry mandatory restitution and special

assessments. This Court “shall order” restitution for a defendant convicted of trafficking in child

pornography. 18 U.S.C. § 2259(b)(2); see also id. § 2259(b)(4) (noting that a Court cannot decline

to issue an order of restitution based on the defendant’s economic circumstances or the fact that a

victim has received compensation from another source). “Trafficking in child pornography”

includes convictions for transporting and possessing child pornography under section 2252. See

id. § 2259(c)(3). At minimum, this Court must order $3,000 per victim in restitution. See id.

§ 2259(b)(2)(B). But a victim is entitled to the full amount of restitution causally related to the

defendant’s actions. See id. § 2259(b)(2)(A), (B). In this case, the government has at least eight

identified victims who have expressed an interest in being contacted before sentencing. Thus, at

a minimum, the defendant is responsible for at least $24,000 in mandatory restitution.




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       In addition to mandatory restitution, the defendant’s convictions come with mandatory

special assessments. See id. §§ 2259A, 3014. Section 2259A provides that the Court “shall assess”

defendants in child pornography cases. See id. § 2259A(a) (noting that the assessment is “in

addition to any other criminal penalty, restitution, or special assessment authorized by law”). The

amount depends on the offense of conviction. On a conviction for possession of child pornography

under Section 2252(a)(4), the assessment is not more than $17,000. Id. § 2259A(a)(1). On a

conviction for “any other offense for trafficking in child pornography,” which includes

transportation, the assessment is not more than $35,000. Id. § 2259A(a)(2). Based on the

defendant’s convictions here, the Court could order an additional assessment up to $192,000. 2

       Then, in addition to the standard special assessment under Section 3013, Section 3014

requires that the Court “shall assess an amount of $5,000 on any non-indigent person” convicted

of a child pornography offense found in Chapter 110 (i.e., every conviction in this case). See id.

§ 3014(a)(3). This additional special assessment is used to fund the Domestic Trafficking Victims’

Fund. See id. § 3014(c). Three circuits have found that this additional assessment applies per

count. See United States v. Warrington, 78 F.4th 1158, 1168–70 (10th Cir. 2023); United States

v. Randall, 34 F.4th 867, 874–77 (9th Cir. 2022); United States v. Johnman, 948 F.3d 612, 616-19

(3d Cir. 2020). But see United States v. Haverkamp, 958 F.3d 145, 149–50 (2d Cir. 2020) (holding

the 3014 assessment applies per offender, not per count). If applied per count, the defendant would

owe an additional, mandatory assessment of $30,000.

       In sum, the defendant faces the potential for mandatory restitution and special assessments

in excess of $246,000.


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  The statute, enacted in 2018, provides that that the caps on these assessment “shall be adjusted
annually in conformity with the Consumer Price Index,” 18 U.S.C. § 2259A(b), so the defendant’s
total exposure may be higher.


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                                            ARGUMENT

        The government enforces restitution orders through the Federal Debt Collection

Procedures Act (FDCPA), 28 U.S.C. §§ 3001, et seq., and “by all other available and reasonable

means,” 18 U.S.C. § 3664(m)(ii). The FDCPA authorizes the Court to use the All Writs Act, 28

U.S.C. § 1651, to support any of the remedies set forth in the FDCPA. See 28 U.S.C. § 3202(a).

Indeed, the All Writs Act has been successfully used to restrain a defendant from dissipating assets.

Post-conviction, defendants “no longer are bathed with the presumption of innocence,” and the

court has the power to restrain assets so that they are available to comply with upcoming restitution

orders. United States v. Numisgroup Int’l Corp., 169 F. Supp. 2d 133, 138 (E.D.N.Y. 2001); see

also United States v. Abdelhadi, 327 F. Supp. 2d 587 (E.D. Va. 2004) (authorizing under All Writs

Act restraining order against defendant and others acting in concert with him from transferring,

selling or disposing of defendant’s property and allowing government to file notice of lis pendens

where such order was necessary to protect and effectuate sentencing and restitution orders and to

ensure future availability of property to satisfy the restitution order); United States v. Gates, 777

F. Supp. 1294, 1296 n.7 (E.D. Va. 1991) (noting that trial court has authority to order a defendant

awaiting sentencing not to dispose of his assets to ensure meaningful ability to impose a proper

sentence and “to fulfill the intent and mandate of Congress that a financially able defendant pay

fines and costs of prosecution, incarceration, and supervised release or probation.”); accord United

States v. Bank of Am., 922 F. Supp. 2d 1, 5 (D.D.C. 2013), aff’d sub nom. United States v. Bank of

Am. Corp., 753 F.3d 1335 (D.C. Cir. 2014) (“Under the All Writs Act, the Court has authority to

‘issue all writs necessary or appropriate in aid of [its] jurisdiction[].’”) (citing United States v. N.Y.

Tel. Co., 434 U.S. 159, 172 (1977) (the All Writs Act empowers courts to issue extraordinary writs

as necessary to effectuate and prevent the frustration of orders the court has issued)).




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       Here, the jury found the defendant guilty, and he is awaiting sentencing. He faces a

substantial amount of mandatory restitution and special assessments based on his child

pornography convictions. While various remedies are available to the government under the

Mandatory Victim Restitution Act, 18 U.S.C. § 3663A, and the FDCPA to enforce collection of

the restitution obligation, none of them can be instantly implemented, and none of them prevents

a defendant or those acting on his behalf from dissipating assets or otherwise secreting, wasting,

or placing them beyond the government’s reach.            In short, none reasonably ensures the

effectiveness of the Court’s order. Only the restraining order can serve this function.

       WHEREFORE, the United States respectfully request that this Court grant its motion and

restrain the defendant (and others acting on his behalf) from dissipating his assets to preserve their

availability to pay his mandatory restitution and special assessments obligations in this case.

                                               Respectfully submitted,

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